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               z) filing memorandum of law in opposition to Defendant Shi's motion to unseal
                  documents (ECF 368);

               aa) appearing the Court's hearing regarding Defendant Shi's motion to unseal (ECF
                   369); and

               bb)reviewing, analyzing, and responding numerous documents, demands, and
                  court filings (including Defendant Shi's Notice of Demand for Inspection
                  Pursuant to N.Y. CPLR 6404 and Fed. R. Civ. Proc. 66 ("Shi's Demands"),
                  dated October 3 , 2022. Attached to this declaration as Exhibit I is a true and
                  conect copy of Shi's Demands).

       39.     To date, the Receivership still has $1,077,177.38 in unpaid expenses with

$474,785.86 in expenses incurred prior to October 5, 2020. See Exhibit A at 6 and 10.

Fees and Expenses of Receiver's Agent in Mainland China

       40.     As detailed discussed in Receiver's status reports, Receiver's agent in China, Mr.

Lilin (Francis) Guo ("Mr. Guo") has been missing since April 2022. ECF 309, at 3, and ECF 335,

at 2-3. While my office has attempted to contact Mr. Guo on multiple occasions over the past few

months, and even as recently as this week, Mr. Guo is still umeachable.              Further, any

documentation of the note agreement entered into between Mr. Guo and LKM is under seal.

Therefore, the Receiver's Accounting does not include Mr. Guo's fees and expenses.

       41.     However, it should be noted that the Receivership did not malce any cash payments

to Mr. Guo. Rather, pursuant to Mr. Guo's note agreement (which was approved by this Court),

Mr. Guo had the right to convert fees and expenses that he advanced to the Company into shares

ofLKM stock at a predetermined ratio that was approved by the Court.


I declare under penalty of pe1jmy that the forgoing is ttue and correct.

Dated: New York, New York
November 18, 2022

                                                              riJµ,k;z
                                                                  Robert W. Seiden

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